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    8                       UNITED STATES DISTRICT COURT
    9                     CENTRAL DISTRICT OF CALIFORNIA
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        KEVIN RISTO, on behalf of himself           Case No. 2:18-cv-07241-CAS-PLAx
   12   and all others similarly situated,
                                                    Class Action
   13                   Plaintiff,
   14
                                                    [PROPOSED] STIPULATED
        vs.                                         SCHEDULING ORDER
   15
        SCREEN ACTORS GUILD-                        Complaint filed: June 22, 2018
   16   AMERICAN FEDERATION OF
        TELEVISION AND RADIO ARTISTS,               Amended complaint filed: November 11,
   17                                               2018
        a Delaware corporation;
   18   AMERICAN FEDERATION OF
   19   MUSICIANS OF THE UNITED
        STATES AND CANADA, a California
   20   nonprofit corporation; RAYMOND M.
   21   HAIR, JR., an individual, as Trustee of
        the AFM and SAG-AFTRA Intellectual
   22   Property Rights Distribution Fund;
   23   TINO GAGLIARDI, an individual, as
        Trustee of the AFM and SAG-AFTRA
   24   Intellectual Property Rights Distribution
   25   Fund; DUNCAN CRABTREE-
        IRELAND, an individual, as Trustee of
   26   the AFM and SAG-AFTRA Intellectual
   27   Property Rights Distribution Fund;
        STEFANIE TAUB,
   28


                             [PROPOSED] STIPULATED SCHEDULING ORDER
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    1   an individual, as Trustee of the AFM and
    2   SAG-AFTRA Intellectual Property
        Rights Distribution Fund; JON JOYCE,
    3   an individual, as Trustee of the AFM and
    4   SAG-AFTRA Intellectual Property
        Rights Distribution Fund; BRUCE
    5   BOUTON, an individual, as Trustee
    6   of the AFM and SAG-AFTRA
        Intellectual Property Rights Distribution
    7   Fund; and DOE
    8   RESPONDING PARTY 1-10,
    9                    Responding Party.
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   13         Pursuant to the parties’ Stipulation, and for good cause shown, in light of the
   14   requested continuance of pre-trial dates, the following dates are changed as set
   15   forth below:
   16
         Event                       Current Date                Proposed Date
   17
         Settlement Completion       January 31, 2020            April 30, 2020
   18    Cutoff
   19    Status Conference re        February 24, 2020           May 18, 2020
         Settlement                  11:00 a.m.                  11:00 a.m.
   20    Class Certification         March 23, 2020              June 29, 2020
   21    Motion Cutoff
         Opposition to Class         April 27, 2020              August 3, 2020
   22    Certification Motion
   23    Cutoff
         Reply to Class              May 22, 2020                August 28, 2020
   24    Certification Motion
   25    Cutoff
         Hearing on Motion for       June 8, 2020                September 14, 2020
   26    Class Certification         10:00 a.m.                  10:00 a.m.
   27

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                              [PROPOSED] STIPULATED SCHEDULING ORDER
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    1   Joint Status Report         June 29, 2020              September 28, 2020
    2   Cutoff
        Further Scheduling          July 6, 2020               October 5, 2020
    3   Conference                  11:00 a.m.                 11:00 a.m.
    4
              IT IS SO ORDERED.
    5
        Dated: February 19, 2020                   __                           _____
    6                                              The Hon. Christina A. Snyder
    7                                              United States District Judge
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                              [PROPOSED] STIPULATED SCHEDULING ORDER
